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11\1 THB UNITED sTATEs DIsTRICT coURT "l-` § ' l` §
FoR THE soUTHERN DISTRICT oF oltloqj g ,,_

WESTERN DivlsloN 35 -°§`§ "` §§§
UNITED sTATEs oF AMERICA, ; CAsE No 3° 1 §§ €.l‘ ’?' '? §§ §§
Plain§iff, : THO|V|AS M. ROSE
V.
INDICTMENT
JoE mROME WILLIAMS, ; 18 U.s.C. §§ 922(§)(1) and 924(3)(2)
21 U.s.C. §§ 841(3)(1)2.1.¢1 (b)(i)(A)(vi)
Defendam;. : 21 U.s.C. §§ 841(3)(1) and (b)(l)(A)(viii)

21 U.s.C. § 346

 

THE GRAND JURY CHARGES THAT:

CoUNT 1
[18 U.s.C. §§ 922(g)(1) and 924(3)(2)]

On or about October 18, 2018, in the Southem District of Ohio, defendant JOE JEROME
WILLIAMS knowingly possessed a fireami, in and affecting interstate commerce Tln's
possession occurred after JOE .]EROl\/IE WILLIAMS had been convicted of the following
felonies punishable by terms of imprisonment exceeding one year, namely:

a. On or about September 19, 2001, in the Court of Cornmon Pleas, l\/lontgolnery

County, Ohio, Case Nnmber ZOOI~CR-ZZZ?», Possession of Cocaine (crack form >1

gram but < 5 grams), in violation of the Ohio Revised Code; and

b. 011 or about Novernber 15, 2013, in the Court of Cornmon Pleas, Knox County,
Ohio, Case Number 13CR01-0019, Trafticking in Heroin, in violation of the Ohio
Revised Code.

In violation of 18 U.S.C. §§ 922(§)(1) and 924(21)(2).

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p1UsL1§am]

Beginning on an exact date unknown but at least by on or about April 16, 2019, in the
Southern District of Obio and elsewhere, defendant JOE .]EROME WILLIAMS knowingly and
intentionally conspired with others known and unknown to the Grand Jury, to knowingly and
intentionally possess with intent to distribute in excess of 500 grams or more of a mixture or
substance containing a detectable amount of methamphetamine, a Schedule I controlled substance,
in violation of 21 U.S.C. §§ 84l(a)(l) and (b)(l)(A)(\/iii) and in excess of 400 grams or more a
mixture or substance containing a detectable amount of fentanyl, a Schedule ll controlled
Substance, in violation of 21 U.S.C. §§ 84l(a)(]) and (b)(l)(A)(vi).

All in violation of21 U.S.C. § 846.

A TRUE BILL

§/

FoREM§N

BENJAMIN C. GLASSMAN
United States Attorney

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DnaoHrK;KELLER
Assistant United States Attorney

